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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Norfolk Division


  DAEDALUS BLUE, LLC

        Plaintiff,

        v.                              Civil Action No. 2:20-CV-551-RCY-RJK

  MICROSTRATEGY INCORPORATED

        Defendant.



 DEFENDANT MICROSTRATEGY INC.’S RESPONSE TO PLAINTIFF’S MOTION TO
    STRIKE OBJECTIONS AND COMPEL DISCLOSURE OF SEARCH TERMS
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         Like its motion to compel, Daedalus’ motion to strike is unnecessary at this time—the

 parties do not have a concrete and consequential dispute that requires the Court’s intervention.

 This motion involves MicroStrategy’s timely objections to Daedalus’ discovery requests, which,

 as written, cover most of MicroStrategy’s two-decade old, global business.             MicroStrategy

 provided sufficiently detailed objections to the requests (similar to Daedalus’ own discovery

 objections). And, MicroStrategy has explained that it is not refusing to search, nor withholding

 responsive documents based on its objections, but rather, it is tailoring the way that it is conducting

 a reasonable search based on the objections. There is simply no reason to strike MicroStrategy’s

 timely and proper objections.         Daedalus’ motion was apparently motivated to require

 MicroStrategy to provide more explanation of its document collection efforts. Dkt. 41 at 1. At no

 point did MicroStrategy refuse to do so. In fact, twice since Daedalus prematurely filed its motion

 Microstrategy provided the information Daedalus seeks—the identification of its document

 repositories and search terms utilized. After doing so, and in the spirit of Local Civil Rule 37(E),

 MicroStrategy asked Daedalus to withdraw its motion, but Daedalus refused. The Court should

 deny or dismiss Daedalus’ motion as unnecessary and/or moot.

    I.      FACTUAL BACKGROUND

         A detailed background is set forth in MicroStrategy’s Opposition to Daedalus’ Motion to

 Compel filed simultaneously herewith. In relevant part, on March 1 MicroStrategy objected to a

 majority of Daedalus’ discovery requests as overbroad, particularly because it had not received

 infringement contentions that identified 1) asserted claims, and 2) particular functionalities of the

 MicroStrategy software that were alleged to meet the limitations of those asserted claims. Dkt.

 42, Ex. C. Daedalus’ requests sought broad discovery on all aspects of MicroStrategy’s business

 relating to its entire software platform going back over two decades, the majority of which is not


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 implicated by the asserted patents. Dkt. 42, Ex. B (defining “Accused Technology” as “the

 MicroStrategy Platform,” “and any other products and methods identified in Daedalus’ Complaint

 and/or other contentions that may be provided”). The “MicroStrategy Platform,” is a

 comprehensive business intelligence software for monitoring, reporting, and analyzing all business

 operations of a company. In contrast, the two asserted patents claim narrow alleged improvements

 specific to queries and security roles in database systems.1 None of the other myriad of features

 offered by the software are accused or are relevant to the claims or defenses in the case.

        MicroStrategy’s other objections similarly reflect the inappropriate breadth of Daedalus’

 requests. For instance, MicroStrategy objected to requests unlimited in time or geographic scope;

 i.e., they were not limited to versions of software “produced, used, imported, sold, or offered for

 sale in the U.S. during the applicable period in which Plaintiff is entitled to relief.”2 MicroStrategy

 also objected to requests that sought information that was unduly burdensome and not proportional

 to the needs of the case, such as requests for information relating to “any other analytics software

 and services owned or developed by any other third party,” (Dkt. 42, Ex. G at 54), or requests on

 the complete organizational structure of Microstrategy. Id. at 60-62. MicroStrategy also objected

 to requests that sought “all documents,” and noted that it would produce representative documents

 (i.e., those that it located after a reasonable search) that are responsive to each request. See, e.g.,

 id. at 14-15. Other objections went to undefined and ambiguous terms in specific Requests. See,

 e.g., id. at 16. Finally, certain objections noted Requests that were duplicative of other requests or


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   U.S. Patent No. 8,341,172 purports to improve known abstract data layers by including an
 additional data field that includes an aggregate expression. See, e.g., Dkt. 1-2 at 22:7-28. U.S.
 Patent No. 9,032,076 purports to improve known methods of role-based access control through
 the use of “super roles.” See, e.g., Dkt. 1-3 at 13:48-63.
 2
   See, e.g., Dkt. 42, Ex. G at 6 (“the definition of the term “Accused Technologies” is unlimited
 in time and geographic scope and fails to identify . . . software produced, used, imported, sold, or
 offered for sale in the U.S. during the applicable period in which Plaintiff is entitled to relief.”).

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 sought information that is not within MicroStrategy’s custody or control. See, e.g., id. at 19-20.

          MicroStrategy’s objections are not “boilerplate”; MicroStrategy provided detailed and

 specific objections that were no more generic than any of Daedalus’ discovery objections. See

 Dkt. 42, Ex. E at 1; Ex. G at 3. MicroStrategy provided additional explanation for the particular

 objections Daedalus focused on, specifically those relating to the definition of “Accused

 Technologies.” Dkt. 42, Ex. E at 1 (“MicroStrategy is unable to provide fulsome responses . . .

 without Daedalus first identifying asserted claims and asserted products . . . . Further, discovery

 regarding claims and product functionalities that are not in fact accused in this case is not relevant

 and not proportional to the needs of the case.”). MicroStrategy also clarified that while it would

 not withhold documents that arise from a reasonable search, its search would be focused on the

 accused functionalities specifically identified in Daedalus’ infringement claim charts. See, e.g.,

 Dkt. 42, Ex. K at 2-3; Ex. L at 1 (“we are focusing the extensive and burdensome search based on

 our understanding of specifically accused functionalities”).

          In correspondence, Daedalus requested that MicroStrategy provide search terms regarding

 its document collection process. At that point, MicroStrategy noted that search terms had not been

 utilized (as MicroStrategy was collecting technical documentation stored by version). Dkt. 42,

 Ex. K at 4; Ex. L at 2 (“We are still considering this issue, but as previously stated [] MicroStrategy

 is thus far supplying all documentation that was located . . . without applying search terms.”).

 MicroStrategy did not refuse to provide search terms, and MicroStrategy has twice provided its

 search strategy information to Daedalus, including the repositories searched, the search terms

 utilized (if so utilized), and custodial information. Ex. 1 at 1-3.

 II.      ARGUMENT

       A. MicroStrategy’s Objections are Not “Boilerplate” and Should Not Be Stricken

          First, Daedalus complains of MicroStrategy’s use of General Objections in its discovery

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 responses. Setting aside the fact that Daedalus itself used General Objections in its discovery

 responses, see Ex. 2 at 3-7, MicroStrategy provided specific objections to each and every one of

 Daedalus’ sixty-six Requests for Production.3

        Second, MicroStrategy’s objections were hardly “boilerplate, designed to obfuscate,” as

 Daedalus alleges. Dkt. 42 at 4. The mere fact that many of MicroStrategy’s objections were

 repeated in view of the overbreadth of Daedalus’ requests does not make the objections boilerplate.

 See Tim Long Plumbing, Inc. v. Kinsale Ins., No. 20-CV-00042, 2020 WL 6559869, at *4 (E.D.

 Tex. Nov. 9, 2020) (“no cited authority claims that copying and pasting an objection, by itself,

 constitutes the objection ‘boilerplate’”); Doerr v. Abplanalp, No. 19-CV-1194, 2020 WL 6870912,

 at *5 (M.D. Fla. Sept. 3, 2020) (finding objections proper that “shed a bit more light on the basis

 for why Defendant objects to the requests on the grounds of relevancy”). Daedalus relies on cases

 that are not factually similar. Unlike here, the Defendant in Barb v. Brown’s Buick, Inc. provided

 generic objections without any specific details relating to a particular request. No. 09-cv-785,

 2010 WL 446638 (E.D. Va. Feb. 2, 2010). And Acosta v. Medical Staffing of America, LLC, No.

 18-cv-226, 2019 WL 6122016 (E.D. Va. Mar. 15, 2019), relates only to the use of general

 objections and did not address specific objections like MicroStrategy made here.

        For example, MicroStrategy explained its objection to “the definition of the term ‘Accused

 Technology’” as being “unlimited in time and geographic scope” and failing “to identify specific

 functionalities of the MicroStrategy Platform.” MicroStrategy’s objections make clear that the



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   Daedalus also takes issue with the fact that MicroStrategy responded to most requests with the
 statement that it would produce “representative, non-privileged documents . . . from which
 information concerning aspects of the non-objectionable scope of this Request can be located.”
 Dkt. 42 at 2. But this response (which also mirrors Daedalus’ response, see Ex. 2 at 9) is merely
 confirming that MicroStrategy is agreeing to a reasonable search for documents in its possession
 and that it will produce the documents collected in that search that are responsive.


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 request should be limited to the specifically accused functionalities and to “software produced,

 used, imported, sold, or offered for sale in the U.S. during the applicable period in which Plaintiff

 is entitled to relief.” Dkt. 42, Ex. G at 6. MicroStrategy’s objections “are not boilerplate

 objections, but rather were specifically tailored to the deficiencies in Plaintiff’s request.” Quezada

 v. Lindsey, No. 10-CV-01402, 2014 WL 5500800, at *3 (E.D. Cal. Oct. 30, 2014); see also Kilmon

 v. Saulsbury Indus., Inc., No. 17-CV-99, 2018 WL 5800757, at *4 (W.D. Tex. Feb. 28, 2018)

 (ruling objections to Plaintiff’s defined terms “are not ‘boilerplate,’ as Defendant raises the

 corresponding objection only when an allegedly objectionable term has been used”); Mr. Dee’s

 Inc. v. Inmar, Inc., No. 19-cv-141, 2020 WL 6488700 (M.D.N.C. Nov. 4, 2020). Indeed,

 Daedalus’ own objections are often no more specific, confirming the propriety of MicroStrategy’s

 objections to much more expansive topics. Ex. 2 at 51-52. In sum, Daedalus’ motion provides no

 rationale for striking MicrosStrategy’s specific objections, as they are not boilerplate and meet the

 requirements of Fed. R. Civ. P. 34, and therefore it should be denied.

        The lack of a consequential dispute is evidenced by Daedalus’ failure to identify what it

 believes MicroStrategy is improperly withholding in view of its objections. Daedalus’ motion

 mentions only “patent licenses relating to the Platform and Intelligence Server.” Dkt. 42 at 5-6.

 But patents are directed to specific innovations, and not software platforms as a whole.

 MicroStrategy is not withholding any licenses that relate to processing data queries and role-based

 access control—the subject matter of the asserted patents. See Ex. 3 at 26-28 (identifying licenses

 under Fed. R. Civ. P. 33(d)). Notably, Daedalus cites no Federal Rule of Civil Procedure under

 which its motion seeks relief. Rule 12(f) motions to strike are limited to “pleadings” as defined in

 Rule 7(a) (such as a complaint or answer), not objections to discovery requests. See James v.

 Experian Info. Sols., Inc., No. 12-CV-902, 2014 WL 29041, at *6 (E.D. Va. Jan. 2, 2014)). For



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 this additional reason, the Court should deny Daedalus’ inconsequential motion.

     B. Daedalus’ Motion for Search Terms is Moot and The Requested Remedy is
        Unwarranted and Improper

        Daedalus’ additional request for the identification of repositories and search terms is moot

 because MicroStrategy has provided the information requested. Ex. 1 at 1-3. The more than

 200,000 pages of documents that MicroStrategy has provided to date belie Daedalus’ suggestion

 that its search is too narrow, and in any case, MicroStrategy remains willing to meet and confer in

 good faith with Daedalus regarding any specific issues with the search terms.

        Yet Daedalus’ proposed order attempts to go even farther as a “sanction” under Local Civ.

 R. 37(G), (Dkt. 42 at 7), going beyond what courts require even when disfavored “discovery on

 discovery” is ordered.4 Courts have recognized that “[o]rdinarily and traditionally, counsel is not

 required to disclose the manner in which documents are collected, reviewed and produced in

 response to a discovery request” and therefore “[w]hen the discovery sought is collateral to the

 relevant issues (i.e., discovery on discovery), the party seeking the discovery must provide an

 adequate factual basis to justify the discovery, and the Court must closely scrutinize the request in

 light of the danger of extending the already costly and time-consuming discovery process ad

 infinitum.” Haroun v. ThoughtWorks, Inc., No. 20-CV-0100, 2020 WL 6828490, at *1 (S.D.N.Y.

 Oct. 7, 2020) (citations and quotations omitted); see also Fish v. Air & Liquid Sys. Corp., No. 16-

 CV-496, 2017 WL 697663, at *6-7, *15-16 (D. Md. Feb. 21, 2017) (finding that “‘discovery on

 discovery’ . . . is not an appropriate topic of discovery and numerous courts have disallowed such

 discovery”); United States v. United Techs. Corp., No. 16-CV-01730, 2020 WL 7339916, at *15



 4
  See The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for
 Electronic Document Production, 19 SEDONA CONF. J. 1, 123 cmt. 6.b. (2018) (cautioning
 against extraneous discovery as wasteful, absent specific, tangible evidence of a deficiency).


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 (D. Conn. Dec. 14, 2020). An adequate basis includes “gaps in the production of ESI, any reason

 to believe that documents have been deleted, or any basis for asserting that Defendants are not

 searching all relevant and reasonably available sources of ESI that would contain material

 responsive to Plaintiff’s document requests.” See 2020 WL 6828490, at *2.5

        Here, there is no evidence of any gaps in MicroStrategy’s production (Daedalus filed its

 motion before reviewing the productions), no reason to believe spoliation has occurred, and no

 basis to believe that MicroStrategy is not searching all relevant and reasonably available ESI. And

 Daedalus’ proposed order goes well beyond the custodians and search terms—requesting that, for

 each of the 66 RFPs, MicroStrategy explain every source from which documents were preserved

 and collected, how they were collected, and identification of attorneys overseeing relevance

 determinations and a description of how those determinations are being made. Dkt. 42-13. There

 is no cause for this sweeping and untargeted remedy, which appears to request the mental

 impressions of attorneys conducting a relevance determination—classic, protected work product.6

 Nothing in this case warrants such discovery on extraneous issues, as the information

 MicroStrategy has already voluntarily provided evidences its good faith production efforts.

        MicroStrategy respectfully requests that the Court deny Daedalus’ motion to strike.


                                       Respectfully submitted,

 Dated: April 7, 2021                  /s/ Nicholas M. DePalma
                                       Nicholas M. DePalma (VSB 72886)
                                       VENABLE LLP


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   In the only case Daedalus cited to MicroStrategy, such discovery was ordered only after there
 were “repeated concerns” over the adequacy of production, the producing party refused to share
 “any specific facts” about its production, and there was tangible evidence of deficiencies.
 Johnson v. Ford Motor Co., No. 13-CV-06529, 2015 WL 4137707 (S.D.W. Va. July 8, 2015).
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   Even in Johnson the court acknowledged the issue of work product disclosure but found that a
 limited inquiry into “search terms” and “custodians”—the information already provided by
 MicroStrategy—would not implicate work product. 2015 WL 4137707, at *10.

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                               CERTFICATE OF CONFERENCE

         The undersigned certifies that counsel for MicroStrategy has complied with the

  requirements of Local Civil Rule 37(E) and the Scheduling Order entered in this matter (ECF No.

  31) and has met and conferred with Plaintiff’s counsel in good faith several times by telephone

  and through correspondence to resolve the issues raised in this motion before it was filed by

  Plaintiff. For all the reasons set forth above, MicroStrategy opposes the motion, believes that it

  was filed prematurely, and contends that the issues raised are moot.


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                                   CERTFICATE OF SERVICE

          I hereby certify that on the 7th day of April 2021, I caused the foregoing to be filed

  electronically using the Court’s CM/ECF system, which automatically sent a notice of electronic

  filing to:

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